                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEGRAIN WINSTON,                           )
MICHELLE STRICKLAND,                       )
VERNELL TIMS, I.V. NEWSON, Jr.,            )
SAMUEL PAGE, WILFORD FERGUSON,)
CECIL WILLIAMS, ANTHONY                    )
MANNING, DAVID WALKER,                     )
TYRONE MCGHEE and VICTOR                   )
SLAUGHTER,                                 )
                                           )
        Plaintiffs,                        )
                                           )
vs.                                        )                 Case No. 18 cv-05726
                                           )
SHERIFF OF COOK COUNTY                     )
THOMAS J. DART, in his                     )                 Hon. Matthew F. Kennelly
Official Capacity, JOSEPH RANZINO,         )
Individually and in his Official Capacity, )
GREGORY SHIELDS, Individually and in )                       Jury Trial Demand
his Official Capacity, THOMAS NEAL,        )
Individually and in his Official Capacity, )
CHRISTOPHER ROHLOFF, Individually )
and in his Official Capacity, and          )
COUNTY OF COOK, ILLINOIS,                  )
                                           )
        Defendants.                        )

      PLAINTIFFS’ OBJECTION TO DEFENDANTS’ EIGHTH REQUEST FOR
          EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD
                                 AND
     PLAINTIFFS’ REQUEST FOR LEAVE TO FILE A MOTION FOR DEFAULT

       NOW COMES the Plaintiffs, by and through their attorneys, The Herbert Law Firm and

respectfully object to the Defendants’ Eighth Request for an Extension of Time to Answer or

Otherwise Plead and respectfully requests that this Honorable Court grant Plaintiffs leave to file

a Motion for Default against the Defendants. In support thereof, Plaintiffs state as follows:

       1.      Plaintiffs filed their complaint on August 21, 2018.




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       2.      On October 22, 2018, Defendants filed their appearance and first request for an

extension of time to answer or otherwise plead; the motion was granted and Defendants’ answer

was due on November 21, 2018.

       3.      At the November 13, 2018 status with this Court, an order was entered providing

Defendant with an extension to answer or otherwise plead by December 19, 2018.

       4.      On December 17, 2018 Defendants filed another motion for an extension of time

to file their answer or otherwise plead; Plaintiffs did not object and an agreed motion was filed

and granted; Defendants were to file their answer by January 22, 2019.

       5.      On January 22, 2019 Defendants filed another motion for an extension of time to

file their answer or otherwise plead; Plaintiffs did not object and an agreed motion was filed and

granted; Defendants were to file their answer by February 5, 2019.

       6.      On February 5, 2019 Defendants filed another motion for an extension of time to

file their answer or otherwise plead; Plaintiffs orally objected to Defendants’ counsel, yet he

filed his motion as an agreed motion and it was granted; Defendants were to file their answer by

February 8, 2019.

       7.      On February 8, 2019 Defendants filed another motion for an extension of time to

file their answer or otherwise plead; the motion was granted and Defendants were to file their

answer by February 15, 2019.

       8.      On February 15, 2019 Defendants filed another motion for an extension of time to

file their answer or otherwise plead, the motion was granted and Defendants were to file their

answer by February 22, 2019.




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       9.      On February 22, 2019 Defendants filed another motion for an extension of time to

file their answer or otherwise plead; the motion was granted and Defendants were to file their

answer by February 27, 2019.

       10.     On February 27, 2019 Defendants filed another motion for an extension of time to

file their answer or otherwise plead; the motion is up for presentment before this Court on March

5, 2019 at 9:30am.

       11.     While Plaintiffs acknowledge there are five Defendants in this matter, Defendants

filed their appearance over four months ago.

       12.     Defendants’ eight motion for an extension of time to answer or otherwise plead

have significantly delayed this matter from moving forward.

       WHEREFORE, Plaintiffs respectfully request this Court to enter an order compelling

Defendants to file their answer or otherwise plead and deny their eighth motion for an extension

of time to answer or otherwise plead. Alternatively, Plaintiffs respectfully request that this Court

grant Plaintiffs leave to file a motion for default against the Defendants.

Dated: March 1, 2019                                  Respectfully submitted,

                                                      /s/ Kelly A. Krauchun

                                                      Kelly A. Krauchun
                                                      One of Plaintiffs’ attorneys


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